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                     EXHIBIT 10
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               Case 4:24-cv-00338     
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                                              UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                   HOUSTON DIVISION

                                                                )
              Food Not Bombs Houston et al.,                    )
                                                                )
              Plaintiffs,                                       )
                                                                ) Case No. ________________
              v.                                                )
                                                                )
              City of Houston, Texas,                           )
                                                                )
              Defendant.                                        )
                                                                )

                                              DECLARATION OF LATOYA LANE

                     I, LATOYA LANE, hereby declare and state:

                     1.       I am a paralegal with the Texas Civil Rights Project. I was given the assignment to

             access, print out, and verify the contents of the websites listed in the table below. These print outs

             are now Exhibits attached to Plaintiffs’ Motion for Temporary Restraining Order and Preliminary

             Injunction. Exhibits 1, 11, 12, 13, 14, 15, and 16 fairly and accurately reflect what I perceived

             when I accessed these websites. Exhibit 17 fairly and accurately reflects the report I downloaded

             from the website.

               Exhibit       Date                                       Description
                No.         Accessed
                                            City of Houston, Code of Ordinances, Chapter 20 – Food and Drugs,
                                            Article V. – Charitable Food Services
                            January         https://library.municode.com/tx/houston/codes/code_of_ordinances?node
              1             22, 2024        Id=COOR_CH20FODR_ARTVCHFOSE

                                            City of Houston CitizensNet; Facts about Voluntary Homeless Feeding
                                            Registration Program, City of Houston Clarifies Misinformation; dated
                                            September 5, 2012
                            January         https://www.houstontx.gov/citizensnet/HomelessFeedingProgram090512
              11
                            17, 2024        .html
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               Case 4:24-cv-00338     
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                                            Houston Health Department; Charitable Feeding Service Provider
                                            Program information
                                            https://www.houstonhealth.org/services/permits/food-permits/charitable-
                            January
              12                            feeding
                            17, 2024
                                            Houston Chronicle; Read Houston Mayor John Whitmire’s full
                                            inauguration speech; dated January 2, 2024
                                            https://www.houstonchronicle.com/politics/houston/article/mayor-john-
                            January
              13                            whitmire-inauguration-speech-18585705.php
                            22, 2024
                                            City of Houston, Mayor’s Office for Homeless Initiatives
                            January         https://www.houstontx.gov/homeless/
              14
                            22, 2024
                                            City of Houston Texas, City Council Committees and Agendas, Housing
                                            and Community Affairs
                            January
                                            https://www.houstontx.gov/council/committees/housing.html
              15            22, 2024
                                            City of Houston CitizensNet; Community Charrette on Homelessness
                                            Community Action Plan Meetings August 20,21,23 and 28; dates August
                            January         16, 2012
              16            17, 2024        https://www.houstontx.gov/citizensnet/HomelessnessCharrette081612.ht
                                            ml
                                            Rice University Kinder Institute for Urban Research, Election 2023:
                                            Priorities and Concerns of Houston Residents; dated September 5, 2023
                            January         https://kinder.rice.edu/research/election-2023-priorities-and-concerns-
              17            22, 2024        houston-residents



                     Under 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

             correct.
                                            
                     Executed on ____________________ in Dallas, Texas.



                                                               ____________________________________
                                                               LaToya Lane
